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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION
IN RE:                                           )    CASE NO: 19-40529-659
GARY L HATHAWAY                                  )    Chapter 13
                                                 )
                                                 )    Response Due: 05/23/2019
                                                 )
                      Debtor                     )

  TRUSTEE'S MOTION TO DISMISS FOR FAILURE TO MAKE PLAN PAYMENTS
                           AND NOTICE

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO
YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
AGREEMENT, YOU MUST ATTEND THE HEARING, THE DATE OF WHICH WILL
BE SENT TO YOU IF YOU FILE A RESPONSE. UNLESS THE PARTIES AGREE
OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND
MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS.
   COMES NOW Diana S. Daugherty, Standing Chapter 13 Trustee in Bankruptcy, and for her
Motion to Dismiss states as follows:
1. That the above-captioned case was filed on January 30, 2019. The debtor's plan proposes
   to pay the sum of $2,784.00 per month.
2. Pursuant to 11 U.S.C. § 1326(a)(1) the debtor's first payment was due on March 01, 2019.

3. That the Trustee has received payments from the debtor over the last nine months as set
   forth in Exhibit A, attached hereto.
4. That the amount due to the Trustee to date is $8,352.00 but the total paid into the plan to
   date is $800.00.
5. That the debtor is $7,552.00 in default through May 02, 2019.
    WHEREFORE the Trustee prays the Court enter its order dismissing this Chapter 13 case
for failure to make plan payments.
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19-40529-659           TRUSTEE'S MOTION TO DISMISS FOR FAILURE TO                         05/02/2019
                            MAKE PLAN PAYMENTS AND NOTICE                                 Page 2 of 2
Dated: May 02, 2019                                  /s/ Diana S. Daugherty
                                                     Diana S. Daugherty
MTDPYM--AH                                           Standing Chapter 13 Trustee
                                                     P.O. Box 430908
                                                     St. Louis, MO 63143
                                                     (314) 781-8100 Fax: (314) 781-8881
                                                     trust33@ch13stl.com

                                   CERTIFICATE OF SERVICE
    I certify that a true and correct copy of the foregoing document was filed electronically on
May 02, 2019, with the United States Bankruptcy Court, and has been served on the parties in
interest via e-mail by the Court's CM/ECF System as listed on the Court's Electronic Mail Notice
List.

     I certify that a true and correct copy of the foregoing document was filed electronically with
the United States Bankruptcy Court, and has been served by Regular United States Mail Service,
first class, postage fully pre-paid, addressed to those parties listed on the Court's Manual Notice
List and listed below on May 02, 2019.

GARY L HATHAWAY
337 MISTY VALLEY DR
SAINT PETERS, MO 63376

                                                     /s/ Diana S. Daugherty
                                                     Diana S. Daugherty, Chapter 13 Trustee

                                           EXHIBIT A

                          RECEIPTS FROM 08/01/2018 TO 05/02/2019
 Receipt Date        Receipt Amount  Receipt Type
 03/27/2019                 $800.00       MONEY ORDER FROM DEBTOR
